          UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF TEXAS
                LUBBOCK DIVISION


George Stewart, on behalf of himself
and others similarly situated,

                    Plaintiff,
                                           Case No. 5:23-cv-00007-H
v.

Texas Tech University Health Sciences
Center, et al.,

                    Defendants.


PLAINTIFF’S BRIEF IN OPPOSITION TO UNIVERSITY OF TEXAS
            DEFENDANTS’ MOTION TO DISMISS

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I.     T R O R’ R 40304 D N M
       S’ D F P R W R
       T H R-D C
     The UT defendants claim to have mooted some of Stewart’s claims by repealing
Regents’ Rule 40304. See UT Defs.’ Br., ECF No. 35, at 6–8.1 The defendants’ moot-

ness argument is unavailing for many reasons.
     First, the defendants do not claim and have not shown that they have eliminated
the use of racial preferences in student admissions. Their mootness argument hinges
entirely on the Board of Regents’ recommendation to repeal Regents’ Rule 40304,

which purported to “authorize” UT institutions to use race and sex preferences “in
accordance with” Grutter v. Bollinger, 539 U.S. 306 (2003), and Gratz v. Bollinger,
539 U.S. 244 (2003). See Regents’ Rule 40304 (attached as Exhibit 1), available at
https://perma.cc/69YS-RJD8.2 But a repeal of Regents’ Rule 40304 does not mean
that UT institutions will stop using racial preferences. UT institutions were using ra-
cial preferences before Regents’ Rule 40303,3 and they did so in the teeth of federal
anti-discrimination laws that prohibited all forms of racial discrimination at institu-
tions that receive federal funds. See 42 U.S.C. § 2000d (Title VI). It remains possible
for UT institutions to continue using racial preferences despite the repeal of Regents’
Rule 40303, just as they used racial preferences before the rule existed. The Board of
Regents has not adopted a rule that bans consideration of race, or that forbids appli-
cation forms to ask about a student’s race. And the UT defendants have not produced




1.   The UT defendants appear to concede that the repeal of Regents’ Rule 40304
     does not affect Stewart’s claims regarding illegal sex discrimination or his claims
     for damages.
2.   The UT defendants did not attach a copy of Regents’ Rule 40304 to their brief
     or provide a link to its text. We have included a copy in Exhibit 1.
3.   See Hopwood v. Texas, 78 F.3d 932 (1996).


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affidavits or evidence showing that each of UT medical schools will stop considering
or using race in student admissions.4
     Second, even if the UT defendants had proven that the repeal of Regents’ Rule
40303 would eliminate any consideration of race in student admissions, that still
would not moot Stewart’s claims because of the repeal is an act of “voluntary cessa-
tion.” See United States v. W.T. Grant Co., 345 U.S. 629, 632 (1953) (“[V]oluntary
cessation of allegedly illegal conduct does not deprive the tribunal of power to hear
and determine the case, i.e., does not make the case moot.”); City of Mesquite v. Alad-
din’s Castle, Inc., 455 U.S. 283, 289 (1982) (“[A] defendant’s voluntary cessation of
a challenged practice does not deprive a federal court of its power to determine the
legality of the practice.”). The UT defendants try to get around the voluntary-cessa-
tion doctrine by analogizing the repeal of Regents’ Rule 40304 to a legislature’s de-
cision to repeal a statute, which is generally held to moot whatever constitutional
claims a litigant was previously asserting against the erstwhile statutory enactment. See
Valero Terrestrial Corp. v. Paige, 211 F.3d 112, 116 (4th Cir. 2000) (Luttig, J.)
(“[S]tatutory changes that discontinue a challenged practice are ‘usually enough to

render a case moot, even if the legislature possesses the power to reenact the statute
after the lawsuit is dismissed.’” (quoting Native Village of Noatak v. Blatchford, 38

F.3d 1505, 1510 (9th Cir. 1994)); Freedom From Religion Foundation, Inc. v. Abbott,
58 F.4th 824, 832 (5th Cir. 2023) (collecting authorities). But Stewart is not “chal-
lenging” Regents’ Rule 40303, and he is not seeking any relief pertaining to that rule.
He is not, for example, requesting a remedy that would “set aside” or formally revoke


4.   The UT defendants offer only a single declaration from an assistant dean for
     admissions at the University of Texas Medical Branch’s John Sealy School of
     Medicine, which says that “race is not a consideration for admissions in the 2024
     admissions cycle to the medical school or going forward.” Banks Decl., ECF No.
     35-1 ¶ 7. They provide nothing with respect to the other defendant medical
     schools.


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Regents’ Rule 40303,5 declare the rule unconstitutional or preempted, or enjoin the
defendants from enforcing it. See Complaint, ECF No. 1, ¶ 86. Stewart is challenging
only the behavior and conduct of the named defendants, and the defendants have not
shown that the repeal of Regents Rule 40304 will induce them to permanently re-
move racial considerations from their medical school’s admissions process. And even
if the defendants had made this showing, a post-filing change in a defendant’s behavior
is the very definition of “voluntary cessation.”
     The UT defendants also argue that they should be presumed to act in good faith
when repealing Regents’ Rule 40304, and that the Court should allow the repeal to
moot Stewart’s claim notwithstanding the voluntary-cessation doctrine. See UT Defs.’
Br., ECF No. 35, at 8 (citing Freedom From Religion Foundation, 58 F.4th at 833).
But the presumption of good faith attaches only to “state actors” who act “as public
representatives.” See Freedom From Religion Foundation, 58 F.4th at 833 (“[W]e pre-
sume that state actors, as public representatives, act in good faith.”). But officers and
employees at public universities are not “public representatives” and are not politically
accountable to voters, and the UT defendants cite no authority that extends the good-

faith presumption beyond government officials to admissions officers or regents at
public universities. In all events, even if the UT defendants could somehow invoke

the presumption of good faith, the fact remains that the mere repeal of Regents’ Rule
40304 does not prove that racial considerations have been eliminated in student ad-
missions, and the UT defendants have not shown that all future admissions decisions
at their medical schools will be colorblind. A live controversy remains.




5.   See 5 U.S.C. § 706(2)(a) (authorizing reviewing courts to “hold unlawful and
     set aside” agency action found to be “not in accordance with law”).


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II.     S I N S D A A O T
        I D, A H I E T A E
        P Y C F T A V O
        F L
      The UT defendants claim that Stewart cannot sue any of the individual defend-
ants for damages or prospective relief. See UT Defs.’ Br., ECF No. 35, at 8–12. But
Stewart is seeking damages only from the university defendants; he has not sued any
individual defendants for damages in their personal capacity.6 So the citations of cases
that bar claims for damages against individuals under Title VI and Title IX are beside
the point. See id. at 9 (“[I]ndividuals cannot be held liable under Title VI and Title
IX.”). Stewart is asserting only Ex parte Young claims for prospective relief against the
individual defendants.
      The UT defendants claim that Stewart cannot sue the individual defendants un-
der Ex parte Young either. See id. at 10 (arguing that Stewart’s official-capacity claims
are “barred by the Eleventh Amendment”). But Stewart’s claims fall squarely within
the Ex parte Young exception to sovereign immunity. To sue under Ex parte Young,
a litigant needs only to allege “an ongoing violation of federal law and seek[] relief
properly characterized as prospective.” Verizon Maryland, Inc. v. Public Service
Comm’n of Maryland, 535 U.S. 635, 645 (2002). The plaintiff must also sue a de-
fendant who has “some connection with” the enforcement of the disputed statute or
policy. Ex parte Young, 209 U.S. 123, 157 (1908); Whole Woman’s Health v. Jackson,
142 S. Ct. 522, 534 (2021); City of Austin v. Paxton, 943 F.3d 993, 997 (5th Cir.
2019); Jackson v. Wright, --- F.4th ----, 2023 WL 5992750, *3 (5th Cir.).

6.    Congress has abrogated state sovereign immunity for claims brought to enforce
      Title VI and Title IX. See 42 U.S.C. § 2000d-7(a)(1) (“A State shall not be im-
      mune under the Eleventh Amendment of the Constitution of the United States
      from suit in Federal court for a violation of section 504 of the Rehabilitation Act
      of 1973, title IX of the Education Amendments of 1972, the Age Discrimination
      Act of 1975, title VI of the Civil Rights Act of 1964, or the provisions of any
      other Federal statute prohibiting discrimination by recipients of Federal financial
      assistance.”).


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     Stewart’s complaint easily surmounts these hurdles. He alleges repeated and on-
going violations of Title VI, Title X, 42 U.S.C. § 1981, and the Equal Protection
Clause. See Complaint, ECF No. 1, at ¶¶ 60–85.7 He is requesting prospective relief,
and he is not seeking money damages or retrospective relief from the individual de-
fendants. See id. at ¶ 86(b)–(e). And all of the individual defendants are connected in
some way to the university’s admissions practices. The UT defendants do not deny
that the individual defendants have authority over their medical school’s admissions
office, and they do not deny a “connection” between the individual defendants and
the discriminatory admissions practices that Stewart has sued to enjoin.
     Instead, the UT defendants insist that Stewart was required to explain how each
of the individual defendants “took part in admissions decisions,” how they were “re-
sponsible for any admissions policies,” and “whether they engaged in discrimination.”
UT Defs.’ Br., ECF No. 35, at 10. The defendants are wrong. Sovereign immunity is
an affirmative defense, and complaints are not required to anticipate or plead around
affirmative defenses. See Gomez v. Toledo, 446 U.S. 635, 641 (1980); Jackson v. Wright,
--- F.4th ----, 2023 WL 5992750, *4 (5th Cir.) (“[S]tate sovereign immunity is an

affirmative defense, and plaintiffs are not required to anticipate or plead around af-
firmative defenses.”). And the Fifth Circuit has explicitly rejected the idea that com-

plaints must “allege facts demonstrating a connection” between an Ex parte Young
defendant and the alleged constitutional violation. See id. Unless Stewart has pleaded




7.   The UT defendants claim that the repeal of Regents’ Rule 40304 defeats any
     possibility of an “ongoing” violation of federal law. See UT Defs.’ Br., ECF No.
     35, at 12. But they do not deny that Stewart’s complaint alleges an ongoing
     violation. See id. Whether an ongoing violation actually exists is a question to be
     resolved at summary judgment, not in a motion to dismiss. See Manhattan Com-
     munity Access Corp. v. Halleck, 139 S. Ct. 1921, 1927 (2019) (“Because this
     case comes to us on a motion to dismiss, we accept the allegations in the com-
     plaint as true.”).


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himself out of court by admitting the elements of a sovereign-immunity defense,8 the
Court cannot dismiss his claims for failing to allege facts showing the precise connec-
tion between the individual defendants and the medical schools’ admissions policies.9
     The Fifth Circuit has also held that university officials may be sued for prospective
relief under Ex parte Young “due to their governing authority over” a university, re-
gardless of whether a litigant accuses them of direct involvement in the allegedly un-
lawful acts. See Jackson v. Wright, --- F.4th ----, 2023 WL 5992750, *3 (5th Cir.). So
we are at a loss to understand how UT can insist that Stewart must plead (and even-
tually prove) that each of the individual defendants was personally involved in the
allegedly unlawful admissions decisions. See UT Defs.’ Br., ECF No. 35, at 10–11.
The UT defendants do not cite a single case in which a dean of a college or university
president was held to be an improper defendant in an Ex parte Young lawsuit seeking
relief against the unconstitutional conduct of university officials or employees — and
we have not been able to find any such case. Indeed, it would be impossible for Stew-
art to obtain effective relief under Ex parte Young unless the medical schools’ overse-
ers were sued, because an injunction that extends only to lower-level university offi-

cials (such as the line employees that render decisions on applications) would allow
the university to continue the constitutional violations by rearranging the chairs and

putting different people in charge of the disputed decisions.
     The UT defendants’ claim that Stewart has failed to allege “intentional discrimi-
nation” is also befuddling. See UT Defs.’ Br., ECF No. 35, at 11 (emphasis in origi-



8.    The UT defendants do not claim that Stewart has pleaded himself out of court.
9.    See also Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (“[A] com-
      plaint . . . does not need detailed factual allegations”); id. at 570 (“[W]e do not
      require heightened fact pleading of specifics”); Erickson v. Pardus, 551 U.S. 89,
      93–94 (2007) (“Specific facts are not necessary”); Ashcroft v. Iqbal, 556 U.S.
      662, 678 (2009) (“[T]he pleading standard Rule 8 announces does not require
      detailed factual allegations”).


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nal). The complaint specifically alleges conscious and intentional race and sex discrim-
ination on the part of each of the defendant medical schools. See Complaint, ECF No.
1, ¶ 33 (“Each of the defendant medical schools and universities, along with nearly
every medical school and university in the United States, discriminates on account of
race and sex when admitting students by giving discriminatory preferences to females
and non-Asian minorities, and by discriminating against whites, Asians, and men. This
practice, popularly known as ‘affirmative action,’ allows applicants with inferior aca-
demic credentials to obtain admission at the expense of rejected candidates with better
academic credentials.”). If the UT defendants are suggesting that the individual de-
fendants cannot be sued for this under Ex Parte Young absent allegations of their
personal involvement in these intentionally discriminatory acts, then their stance is
untenable for the reasons provided in Jackson v. Wright, --- F.4th ----, 2023 WL
5992750, *3 (5th Cir.).

III.   S H A V O T VI, T IX,
       S , A T E P C
    Stewart has alleged that each of the defendants discriminates on account of race

and sex in medical-school admissions. See Complaint, ECF No. 1, at ¶ 33 (“Each of
the defendant medical schools . . . discriminates on account of race and sex when
admitting students by giving discriminatory preferences to females and non-Asian mi-
norities, and by discriminating against whites, Asians, and men.”). These allegations,
if true, violate federal anti-discrimination laws, including Title VI, Title IX, 42 U.S.C.
§ 1981, and the Equal Protection Clause. The UT defendants do not argue that fed-
eral law allows them to give discriminatory preferences to women and non-Asian racial
minorities when admitting students, and no such claim could be sustained given the
text of the relevant statutes and the Supreme Court’s ruling in Students for Fair Ad-
missions, Inc. v. President & Fellows of Harvard College, 143 S. Ct. 2141 (2023). The




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defendants also do not deny that these federal anti-discrimination laws allow victims
of illegal discrimination (such as Stewart) to sue for relief.
    Yet the UT defendants nonetheless contend that Stewart has failed to allege vio-
lations of federal law or a claim on which relief may be granted. See UT Defs.’ Br.,
ECF No. 35, at 13–15. None of their arguments hold water. Like the Texas Tech
defendants, the UT defendants deny that the statistical evidence in Stewart’s com-
plaint is sufficient to “support an inference” of intentional race or sex discrimination.
See id. at 13. But that does not matter, Stewart is not required to prove his allegations
in the complaint. See Manhattan Community Access Corp. v. Halleck, 139 S. Ct. 1921,
1927 (2019) (“Because this case comes to us on a motion to dismiss, we accept the
allegations in the complaint as true.”). All Stewart needs to do is allege that the de-
fendants intentionally discriminate on account of race or sex in their admissions deci-
sions, and he has done that. See Complaint, ECF No. 1, at ¶ 33. The strength of
Stewart’s statistical evidence is irrelevant at this stage of the litigation. The statistics
do, however, refute any claim that Stewart’s accusations of race and sex discrimination
are “conclusory,” and the demonstration of a statistically significant correlation be-

tween an applicant’s race or sex and their changes for admission is more than enough
to satisfy the “plausibility” threshold of Bell Atlantic Corp. v. Twombly, 550 U.S. 544

(2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009).
    The UT defendants’ claim that Stewart has alleged nothing more than “disparate
impact” ignores the requirement that courts treat all factual allegations in a complaint
as true when deciding a motion to dismiss. See UT Defs.’ Br., ECF No. 35, at 14
(“[A]ll the plaintiff does is allege facts that show disparate impact.”). Stewart has al-
leged intentional race and sex discrimination in paragraph 33 of his complaint, and it
does not matter whether his accompanying statistical evidence proves the existence of
intentional racial discrimination or merely establishes a disparate impact. The time for
proof will come later. For now, mere allegations suffice.


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    Finally, there is nothing to the UT defendants’ complaint that Stewart failed to
allege a “policy” of sex-based admissions preferences. See UT Defs.’ Br., ECF No. 35,
at 15 (“Stewart has not alleged that any of the UT Medical Schools had policies giving
gender-based preferences in admissions.”). Stewart does not need to allege or show
the existence of a “policy” because he is not suing a municipal corporation under 42
U.S.C. § 1983. See Monell v. Department of Social Services, 436 U.S. 658 (1978). He
needs only to allege that the defendants discriminate on account of sex when making
admissions decisions, regardless of whether they do so pursuant to a formally adopted
“policy.” Stewart has alleged that the defendants give discriminatory preferences to
female applications,10 and that allegation must be accepted as true.

                                 CONCLUSION
    The UT defendants’ motion to dismiss should be denied.

                                            Respectfully submitted.

                                             /s/ Jonathan F. Mitchell
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10. See Complaint, ECF No. 1, at ¶ 33.


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                        CERTIFICATE OF SERVICE
    I certify that on October 17, 2023, I served this document through CM/ECF
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